                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 BRIAN NOE, et al.,

                         Plaintiffs,
                                                      No. 21 CV 1668
         v.
                                                      Judge Manish S. Shah
 SMART MORTGAGE CENTERS, INC., et
 al.,

                         Defendants.

                                         ORDER

       Plaintiffs’ motion for conditional certification and to facilitate notice of a
collective action, [65], is denied.

                                       STATEMENT

        Plaintiffs Eileen Pruitt and Brian Noe bring an action against Smart Mortgage
Centers, Brian Birk, and Richard Birk for failing to pay them minimum and overtime
wages in violation of the Fair Labor Standards Act. Plaintiffs move for conditional
certification and to facilitate notice of their collective action under 29 U.S.C. § 216(b).

       Employees can bring claims through a collective action under the FLSA on
behalf of themselves and others who are similarly situated. 29 U.S.C. § 216(b); see
Alvarez v. City of Chicago, 605 F.3d 445, 448 (7th Cir. 2010). The two goals of
collective actions are enforcement and efficiency. Bigger v. Facebook, Inc., 947 F.3d
1043, 1049 (7th Cir. 2020) (citation omitted). District courts have broad discretion to
manage collective actions, see Alvarez, 605 F.3d at 449 (citing Hoffmann-La Roche
Inc. v. Sperling, 493 U.S. 165, 171 (1989)), but must be careful to avoid even the
appearance of endorsing the suit. Bigger, 947 F.3d at 1049 (quoting Hoffman, 493
U.S. at 174).

       Courts in this district regularly use a two-step conditional certification process
to decide whether potential plaintiffs should be notified of their eligibility to
participate in and be given an opportunity to opt into a collective action. In re New
Albertsons, Inc., No. 21-2577, 2021 WL 4028428, at *1 (7th Cir. 2021) (citing Ivery v.
RMH Franchise Corp., 280 F.Supp.3d 1121, 1132–33 (N.D. Ill. 2017)). At step one,
plaintiffs must make a modest factual showing to demonstrate that they and
potential plaintiffs were victims of a common policy or plan that violated the law. See
Kujat v. Roundy’s Supermarkets Inc., Case No. 18 C 5326, 2019 WL 1953107, at *2
(N.D. Ill. May 2, 2019) (quoting Gomez v. PNC Bank, Nat’l Ass’n, 306 F.R.D. 156, 173
(N.D. Ill. 2014)); Jones v. Furniture Bargains, LLC, No. 09 C 1070, 2009 WL 3260004,
at *2 (N.D. Ill. Oct. 9, 2009) (quoting Thiessen v. Gen. Elec. Cap. Corp., 267 F.3d 1095,
1102 (10th Cir. 2001)). The similarly situated standard is lenient, and typically
results in conditional certification. See Rottman v. Old Second Bancorp., Inc., 735
F.Supp.2d 988, 990 (N.D. Ill. 2010) (quoting Cameron-Grant v. Maxim Healthcare
Services, Inc., 347 F.3d 1240, 1243 n.2 (11th Cir. 2003)). But if a defendant opposes
the issuance of notice and it’s undisputed that the proposed recipients entered mutual
arbitration agreements, notice cannot be authorized. See Bigger, 947 F.3d at 1050.

        After a collective action is conditionally certified at step one, the parties
conduct discovery. See Kujat, 2019 WL 1953107, at *2. Once discovery and the opt-in
period close, defendants can move to decertify the collective action, triggering the
second step of the FLSA collective inquiry. See DeMarco v. Northwestern Mem’l
Healthcare, No. 10 C 397, 2011 WL 3510905, at *2 (N.D. Ill. Aug. 10, 2011). In a more
rigorous analysis, the court looks again at whether the named and opt-in plaintiffs
are similarly situated such that that matter can proceed to trial on a collective basis.
See Kujat, 2019 WL 1953107, at *2 (quoting Rottman, 735 F.Supp.2d at 990);
Salmans v. Byron Udell & Associates, Inc., No. 12 C 3452, 2013 WL 707992, at *2
(N.D. Ill. Feb. 26, 2013)). If sufficient similarities aren’t present, the court may revoke
the conditional certification or subdivide the class. Salmans, 2013 WL 707992, at *2
(citations omitted).

       In this case, plaintiffs’ motion is limited to defendants Brian and Richard Birk.
In a previous order—denying defendants’ motion for sanctions, [58], 1 and granting
in part and denying in part plaintiffs’ motion to lift the stay, [77]—I denied plaintiffs’
motion for conditional certification and notice, [65], as to the action against Smart.
See [89] at 4. None of the opt-in plaintiffs contested the fact that they were bound by
identical, valid arbitration agreements with Smart, which meant that notice could
not issue against that defendant. See Bigger v. Facebook, Inc., 947 F.3d 1043, 1048–
51 (7th Cir. 2020).

       Six individuals opted into the action without having received formal notice. See
[16]; [21]; [22]; [23]; [24]; [28]. Noe, Pruitt, and those six opt-in plaintiffs move to
certify the action, defining the class as “other employees with whom [plaintiffs] are
similarly situated, including all current and former Loan Officers who worked [for]
Defendants at any time from March 26, 2018 to the present.” [66-1] at 3. Plaintiffs’
proposed notice is addressed to loan officers at Smart, describes the lawsuit (naming



1 Bracketed numbers refer to entries on the district court docket. Referenced page numbers
are taken from the CM/ECF header placed at the top of the filings.

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Smart and the Birks as defendants), and informs potential plaintiffs that the terms
of their contracts with Smart aren’t a bar to joining the suit. See id. at 2–3.

       Plaintiffs argue that they and similarly situated employees were all victims of
the Birks’ misclassification of loan officers as exempt from FLSA requirements. See
[66] at 5–7. Defendants classified plaintiffs as exempt, plaintiffs argue, despite the
fact that defendants required loan officers to work unpaid overtime hours and
perform non-exempt duties. See id. Identical contracts between four plaintiffs and
Smart said that loan officers were exempt from the minimum wage and overtime
requirements of the FLSA and that Smart would treat them as exempt. See [66-8] at
12; [66-9] at 11; [66-10] at 12; [66-11] at 14; [66-12] at 12. Defendants could not
produce documents showing the number of hours that loan officers worked (they
maintain their position that plaintiffs were exempt from minimum and overtime
wage requirements). [66-7] at 3, ¶ 6; id. at 23, ¶ 32. Declarations from four plaintiffs
(and one former loan officer who isn’t currently an opt-in plaintiff), 2 said that loan
officers at Smart were paid by commission and weren’t paid minimum or overtime
wages. See [66-2] ¶¶ 1, 5, 7; [66-3] ¶¶ 1, 5–6; [66-4] ¶¶ 1, 4–5; [66-5] ¶¶ 1, 3–4; [66-6]
¶¶ 1, 3–4. Declarants worked primarily from Smart’s office or from their homes, and
were aware of other Smart employees whom defendants treated as exempt from the
FLSA. See [66-2] ¶¶ 3, 8; [66-3] ¶ 2; [66-4] ¶¶ 2, 6; [66-5] ¶ 2; [66-6] ¶¶ 2, 5. According
to the contracts, the loan officers all had the same responsibilities and duties. See [66-
8] at 3; [66-9] at 3; [66-10] at 3; [66-11] at 5; [66-12] at 4.

       Plaintiffs have made a modest factual showing that similarly situated
employees were misclassified as exempt from the FLSA. The loan officers’ common
job title, the similarities in their contracts (describing their responsibilities and
showing that defendants considered loan officers to be exempt from FLSA’s
requirements), defendants’ admissions, and the declarations alleging underpayments
are enough to pass the lenient test at step one of the FLSA collective action analysis. 3

2 Declarant Tony Yonkus consented to join the collective action, [64], but later withdrew his
consent. [81].
3 Whether plaintiffs actually were exempt under the FLSA and whether individualized
inquiries are necessary to determine if they were properly classified are questions for the
second stage of the collective action analysis. See Tamas v. Fam. Video Movie Club, Inc., No.
11 C 1024, 2013 WL 4080649, at *3–4 (N.D. Ill. Aug. 13, 2013) (gathering cases). Similarly,
the timeliness of plaintiffs’ claims is appropriately assessed at step two, and isn’t a reason to
deny plaintiffs’ motion now. See Fed. R. Civ. P. 8(c)(1) (the statute of limitations is an
affirmative defense); Jirak v. Abbott Lab’ys, Inc., 566 F.Supp.2d 845, 849 (N.D. Ill. 2008)
(affirmative defenses are assessed at step two); Dennis v. Greatland Home Health Servs., Inc.,
No. 19-cv-5427, 2022 WL 767228, at *6 (N.D. Ill. Mar. 14, 2022) (same). The cases cited by
defendants don’t disagree or are distinguishable. The court in Shiner conditionally certified
a collective action after a plaintiff satisfied the first step of the inquiry. Shiner v. Select
Comfort Corp., No. 09 C 2630, 2009 WL 4884166, at *3–4 (N.D. Ill. Dec. 9, 2009). Both Ruiz
v. Serco, No. 10-cv-394-bbc, 2011 WL 7138732, at *6–7 (W.D. Wis. Aug. 5, 2011) and Gromek

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       While plaintiffs have shown that they were victims of a common employment
policy or plan, the notice that they propose would constitute abuse of the collective
action device. See Hoffmann-La Roche Inc. v. Sperling, 493 U.S. 165, 171 (1989)
(Misleading communications made in the collective action context are a form of
abuse.); Gulf Oil Co. v. Bernard, 452 U.S. 89, 100 n.12 (1981) (same); Bigger v.
Facebook, Inc., 947 F.3d 1043, 1049 (7th Cir. 2020) (Notice that predominantly
increases settlement pressure is likely abusive, and impermissibly suggests judicial
support for the suit at issue.).

        It’s undisputed that the proposed notice recipients entered into valid
arbitration agreements with Smart, which means that notice of the claims against
Smart to those employees cannot issue. See Bigger, 947 F.3d at 1049–50. Although
plaintiffs didn’t agree to arbitrate their claims with the Birks, and the enforcement
goals of the FLSA favor collective action against those defendants, the notice that
plaintiffs want to issue doesn’t make clear that potential plaintiffs would be required
to arbitrate their claims against Smart, and effectively gives notice of those claims to
the employees, increasing settlement pressure. Put differently, plaintiffs’ proposed
notice doesn’t solve the case management problem at issue: how to provide notice to
potential plaintiffs of claims against only some of the defendants in this suit without
putting a thumb on the settlement scale against Smart. See Bigger, 947 F.3d at 1049–
50. Unless plaintiffs can fashion some form of notice that will solve this problem,
certification of their collective action isn’t appropriate.

       In addition, since discovery is almost complete, the potential collective size is
small, and the parties are on the verge of litigating the merits of the defendants’
classification of plaintiffs, it likely would be more efficient to wrap up the parties’
fact-gathering and apply the more rigorous second-step analysis before certifying a
collective action in this case.


ENTER:


Date: July 15, 2022
                                           Manish S. Shah
                                           U.S. District Judge




v. Big Lots, Inc., No. 10 C 4070, 2010 WL 5313792, at *4–5 (N.D. Ill. Dec. 17, 2010) involved
potential classes with widely varying job responsibilities, but plaintiffs’ contracts say that
loan officers at Smart all had the same responsibilities.

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